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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

NRO BOSTON, LLC and ALICE
INDELICATO,

Plaintiffs, Civil Case No.: 17-11976
v.

KABBAGE, INC. and CELTIC BANK
CORPORATION,

Defendants.

 

 

STIPULATION AND ORDER TO STAY ALL
PROCEEDINGS PENDING ARBITRATION

The parties, by and through their respective undersigned counsel, and subject to this
Court’s approval, agree and stipulate as follows:

WHEREAS, on October 12, 2017, Plaintiffs filed a Complaint and Demand for a Trial by
Jury (“Complaint”);

WHEREAS, on November 30, 2017, Defendants filed a motion to compel Plaintiffs to
arbitrate all claims asserted in the Complaint, see ECF No. 19;

WI-IEREAS, Plaintiffs contend (and Defendants disagree) that the arbitration provision
and other terms in the Business Loan Agreements are unconscionable and unenforceable as a
matter of law;

WHEREAS, Plaintiffs and Defendants have agreed to arbitrate the scope of claims that

must be arbitrated, if any;

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WHEREAS, if the arbitrator rejects Plaintiffs’ challenges to the arbitration provisions,
Plaintiffs and Defendants agree that Plaintiffs’ claims asserted in the Complaint should be
resolved in arbitration;

WHEREAS, the parties agree that this matter should be stayed pending the outcome of

the arbitrator’s decision;

NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED AS FOLLOWS:

1. Within 30 days from the date this Stipulation and Order has been approved by the
Court, Plaintiffs shall tile a demand for arbitration with either JAMS or the American Arbitration
Association. The terms of the parties’ Business Loan Agreements, and the arbitration provisions
in those Business Loan Agreements, shall govern the arbitration except as the parties otherwise
agree in writing or as the arbitrator so rules.

2. Defendants’ motion to compel arbitration (ECF No. 19) is DENIED AS MOOT.

3. This case shall be STAYED pending the outcome of the arbitrator’s decision.

The parties are directed to tile ajoint status report within 30 days after the arbitrator’s decision.

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Dated: February 21, 2018

/s/ Michael Maya
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SO ORDERED:

Dated this 23rd day of February, 2018

/s/ George A. O'Toole, Ir.
Hon. George A. O’Toole, Jr.
United States District Judge

CERTIFICATE OF SERVICE

I hereby certify that on this 215t day of February, 2018, the within document was
electronically filed with the Clerk of the Court using the CM/ECF system and will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF),
pursuant to Local Rule 5.4(C).

/s/ Michael Maya
Michael Maya

